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Skip Winters, OSB No. 944669
Email: winters@bodyfeltmount.com
Helaina L. Chinn, OSB No. 163604
Email: chinn@bodyfeltmount.com
BODYFELT MOUNT LLP
319 SW Washington St., Suite 1200
Portland, Oregon 97204
Telephone: (503) 243-1022
Facsimile: (503) 243-2019

       Of Attorneys for Defendant Cottage Grove Chevrolet, Inc., dba Brad’s Cottage
       Grove Chevrolet



                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                       Eugene Division

STACEY RANDALL, an individual,                    Case No. 6:18-cv-01207-TC

                                     Plaintiff,
                                                  DECLARATION OF HELAINA CHINN IN
            v.                                    SUPPORT OF DEFENDANT’S
                                                  UNOPPOSED MOTION TO EXTEND
COTTAGE GROVE CHEVROLET, INC.,                    PRETRIAL DEADLINES
dba BRAD'S COTTAGE GROVE
CHEVROLET,

                                  Defendant.


I, Helaina Chinn, do declare and state as follows:

       1.        I am one of the attorneys for defendant Cottage Grove Chevrolet, Inc.

(“defendant”) in this matter. I make this declaration in support of Defendant’s Unopposed

Motion to Extend Pretrial Deadlines. This declaration is based on my personal knowledge

of the facts and circumstances of this matter. I am competent to testify as to the matters

stated herein.

       2.        The parties to this case have attempted to make good use of the prior time

provided in the schedule.

Page 1 - DECLARATION OF HELAINA                                 BODYFELT MOUNT LLP
                                                                    Attorneys at Law
CHINN IN SUPPORT OF DEFENDANT’S                           319 SW Washington Street, Suite 1200
UNOPPOSED MOTION TO EXTEND                                         Portland OR 97204
PRETRIAL DEADLINES                                       Phone: 503-243-1022 Fax: 503-243-2019
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       3.     The discovery in this matter is ongoing and both parties have experienced

some delays in completing discovery.

       4.     The parties need additional time in order to complete discovery, and an

opportunity to do so may facilitate the resolution of this matter.

       Pursuant to 28 U.S.C. § 1746 I declare under penalty of perjury under the laws

of the United States of America that the foregoing statements are true and correct.

       Dated this 28th day of February, 2019.


                             BODYFELT MOUNT LLP



                             BY:     s/ Helaina L. Chinn
                                   Helaina L. Chinn, OSB No. 163604
                                   Email: chinn@bodyfeltmount.com
                                   Phone: (503) 243-1022
                                   Fax: (503) 243-2019

                                   Trial Attorney: Skip Winters, OSB No. 944669

                                   Of Attorneys for Defendant Cottage Grove
                                   Chevrolet, Inc., dba Brad’s Cottage Grove Chevrolet




Page 2 - DECLARATION OF HELAINA                                 BODYFELT MOUNT LLP
                                                                    Attorneys at Law
CHINN IN SUPPORT OF DEFENDANT’S                           319 SW Washington Street, Suite 1200
UNOPPOSED MOTION TO EXTEND                                         Portland OR 97204
PRETRIAL DEADLINES                                       Phone: 503-243-1022 Fax: 503-243-2019
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                              CERTIFICATE OF SERVICE

       I hereby certify that I served a true copy of the foregoing DECLARATION OF
HELAINA CHINN IN SUPPORT OF DEFENDANT’S UNOPPOSED MOTION TO
EXTEND PRETRIAL DEADLINES on the following attorneys on the date noted below
by the method indicated:

Andrew Lewinter
Andrew Lewinter, Attorney, P.C.
132 E Broadway, Suite 821
Eugene, OR 97401
Fax: (541) 686-1300
Email: Andrew@lewinterlaw.com
       Of Attorneys for Plaintiff Stacey Randall


Method:       US Mail, postage prepaid
              Facsimile
              Hand Delivery
              CM/ECF Electronic Service

       Dated this 28th day of February, 2019.


                            BY:     s/ Helaina L. Chinn
                                  Skip Winters, OSB No. 944669
                                  Email: winters@bodyfeltmount.com
                                  Helaina L. Chinn, OSB No. 163604
                                  Email: chinn@bodyfeltmount.com
                                  Phone: (503) 243-1022
                                  Fax: (503) 243-2019

                                  Of Attorneys for Defendant Cottage Grove
                                  Chevrolet, Inc., dba Brad’s Cottage Grove Chevrolet




 Page 1 - CERTIFICATE OF SERVICE                             BODYFELT MOUNT LLP
                                                                 Attorneys at Law
                                                       319 SW Washington Street, Suite 1200
                                                                Portland OR 97204
                                                      Phone: 503-243-1022 Fax: 503-243-2019
